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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
------------------------------------------------------X
UNITED STATES OF AMERICA                              :

                 -v-                                :     CR 20-203 (BMC)

COLINFORD MATTIS                                    :
AND UROOJ RAHMAN,
                                                    :
                                    Defendants.
------------------------------------------------------X




                    DEFENDANT UROOJ RAHMAN’S MOTION TO DISMISS
                     COUNTS ONE THROUGH FIVE OF THE INDICTMENT




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September 17, 2021
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
------------------------------------------------------X
UNITED STATES OF AMERICA                              :

                 -v-                                :           CR 20-203 (BMC)

COLINFORD MATTIS                                    :
AND UROOJ RAHMAN,
                                                    :
                                    Defendants.
------------------------------------------------------X


                 This memorandum is respectfully submitted in support of Urooj Rahman’s motion

to dismiss Counts One through Five of the Indictment as legally defective.

                                              BACKGROUND

                 On May 30, 2020, around 1:00 a.m., Urooj Rahman and Colinford Mattis were

arrested for throwing a Molotov cocktail into an unoccupied auxiliary police vehicle parked down

the block from the 88th Police Precinct in Brooklyn. The vehicle was out of commission, having

been badly damaged earlier that night in the civil protest that engulfed Brooklyn following George

Floyd’s death at the hands of Minneapolis police. The device caused only minor damage to the

console of the vehicle, and no one was injured.

                 Rahman and Mattis were initially arrested by New York City police officers on

state charges but were transferred to federal custody later that morning. What followed was the

seven count federal indictment at issue here. Five of the seven counts carry mandatory minimum

prison terms, the greatest of which (Count Five) is 30 years. This motion challenges the validity

of those five counts. As we hope to show, the government set out to find those charges that carry

the most severe punishment, but, in doing so, selected charges that do not pass muster.




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                                            ARGUMENT

                                            POINT ONE

    COUNT ONE SHOULD BE DISMISSED BECAUSE THE AUXILIARY POLICE VEHICLE
           WAS NOT PURCHASED OR POSSESSED USING FEDERAL FUNDS

               Count One charges Ms. Rahman, under 18 U.S.C. §844(f)(1), with “maliciously

damag[ing] . . . by means of fire and an explosive, a vehicle . . . in whole and in part owned . . . by

. . . an . . . organization receiving Federal financial assistance, to wit: the New York City Police

Department.”1 As discussed below, section 844(f), properly construed, is “limited to property

owned or possessed using federal financial assistance,” and therefore does not reach the auxiliary

police vehicle at issue in this case. United States v. Hersom, 588 F.3d 60, 67 (1st Cir. 2009).

               Our motion as to Count One relies on the First Circuit’s decision in Hersom, in

which the defendant was charged with setting fire to buildings owned by a private entity, which

had been renovated using funds obtained from HUD. There, the Court noted that §844(f) was

enacted in 1970 pursuant to Congress’s power under the Property Clause of the Constitution. Id.

at 62, citing H.R. Rep. No. 91-1549 (1970). That clause provides that “Congress shall have Power

to dispose of and make all needful Rules and Regulations respecting the Territory or other Property

belonging to the United States.” U.S. Const., art. IV, §3, cl. 2. Thus, the question in Hersom, as

here, was whether applying section 844(f) to any property of an organization “receiving Federal

financial assistance” was a permissible exercise of Congress’s power under that Clause.

               The Court answered the question this way:

        [A]pplying section 844(f) to all property of any organization “receiving Federal
        financial assistance” would give the statute a sweeping scope. In the present
        economy, a wide variety of organizations, both private and non-profit, receive some
        form of federal financial assistance to acquire, renovate, or lease specific property.
        Applying the statute to cover all property owned by such entities would transform

1
        Section 844(f)(1) carries a mandatory minimum sentence of five years’ imprisonment.


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       a broad swathe of “traditionally local criminal conduct” into a “matter for federal
       enforcement.” Jones v. United States, 529 U.S. 848, 858 (2000). The interpretive
       canon against construing statutes to have the effect of significantly altering the
       federal-state balance in the prosecution of crime would thus appear to apply here
       with full force . . . . Thus, in the case of organizations receiving federal financial
       assistance related to specific property, we construe section 844(f) as limited in
       general to arson of that particular property.

588 F.3d at 67 (emphasis added).

               The Court advanced these points to support its conclusion. First, there is no

legislative history suggesting that Congress intended section 844(f) to reach all property owned,

leased or possessed by an organization receiving federal financial assistance, and it is hard to

imagine the “federal interest that would be served by such as expansive interpretation.” Id. at 66.

Second, the legislative history suggests that Congress intended the scope of the statute “to be co-

extensive with its authority under the Property Clause, and was primarily concerned with the

authority of the United States ‘to protect its own property.’” Id. Third, no Property Clause case

supports an interpretation that would apply §844(f) so broadly as to encompass any property of

any organization receiving Federal financial assistance. Id.; see also United States v. Brown, 384

F. Supp. 1151, 1157 (E.D. Mich. 1974)(the cases “make it clear that for the Property Clause to be

properly invoked as a basis for congressional enactment, some actual and substantial property

interest of the federal government must be involved”). And fourth, §844(f) must be “construe[d]

. . . to avoid constitutional questions that would be presented by a broad construction” of the

provision. Hersom, 588 F.3d at 67, citing Jones, 529 U.S. at 857 (“where a statute is susceptible

of two constructions, by one of which grave and doubtful constitutional questions arise and by the




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other of which such questions are avoided, our duty is to adopt the latter”). All of these points

support a narrowing interpretation of the provision.2

               Applying section 844(f) to any property of any organization “receiving Federal

financial assistance” would give the statute a breath-taking scope. Section 844(f) does not require

any minimum amount of federal assistance to trigger federal jurisdiction. Compare 18 U.S.C.

§666 ($10,000 in any one year period). Moreover, the organizations receiving federal assistance

number in the millions. To take only one example, more than 11 million businesses received loans

under the Paycheck Protection Program (“PPP”) established during the pandemic to assist small

businesses retain employees. Among those businesses located in Brooklyn are the Park Plaza

Restaurant, the Brooklyn Youth Chorus Academy, St. Francis Monastery, the Vinegar Hill

Veterinary Group, and Junior’s Restaurant. If §844(f) is not narrowed, an arson of any property

of any of those organizations would be a §844(f) crime.

               Some hypotheticals underscore the point. Could a patient who sets fire to his bed

sheets at a hospital be charged with a §844(f) offense if the hospital receives federal funding to

purchase laboratory equipment? Could a student who sets fire to a banner at a rival university be

charged with a §844(f) offense if the university receives federal funding for scholarships? Could

a patron who sets fire to a Christmas tree in the lobby of a museum be charged with a §844(f)

offense if the museum receives a federal grant to catalogue its collections? Surely, the answer to

each of these questions is “no.”

               Nor can one rely upon prosecutorial discretion to achieve sensible results. As the

Supreme Court has said, we “cannot construe a criminal statute on the assumption that the


2
        The First Circuit upheld Hersom’s conviction, finding that “the property in [his] case was
renovated using . . . a $50,000 loan from the City of Lewiston through the HUD block grant” so
that federal jurisdiction was proper. 588 F.3d at 68.


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Government will ‘use it responsibly.’” McDonnell v. United States, 136 S.Ct. 2355, 2372-73

(2016). Restraint in interpretation, not wishful thinking, is called for in such circumstances. See

United States v. Aguilar, 515 U.S. 593, 600 (1995)(“[w]e have traditionally exercised restraint in

assessing the reach of a federal criminal statute”).3

               In sum, unless Section 844(f) is construed to require some nexus between the

property that is the subject of the arson and the federal financial assistance, it sweeps beyond

Congress’ power under the Property Clause. Here, there is no conceivable nexus between the

auxiliary police vehicle at issue and any federal financial assistance that the New York City Police

Department receives. There is no suggestion that federal funds were used to purchase the vehicle

or repair it; it is not “federally-funded property.” For that reason, Count One cannot survive

scrutiny.

                                           POINT TWO

       COUNT TWO SHOULD BE DISMISSED BECAUSE THE AUXILIARY POLICE
    VEHICLE WAS NOT USED IN AN ACTIVITY AFFECTING INTERSTATE COMMERCE

               Count Two charges Ms. Rahman, under 18 U.S.C. §844(i), with “maliciously

damag[ing] . . . by means of fire and an explosive, a vehicle . . . used in interstate . . . commerce

and in activity affecting interstate . . . commerce.”4 As discussed below, the count should be




3
        The Tenth Circuit has reached a conclusion opposite to that of the First Circuit. See United
States v. Apodaca, 522 F.2d 568, 572 (10th Cir. 1975)(“[t]he clear and unambiguous language of
the statute provides that it applies to any property owned, possessed, used by or leased to any
organization receiving federal financial assistance”); United States v. Elliott, 684 Fed. Appx 685,
696 (10th Cir. 2017)(the arson statute applies “even when federal funds are not being directed to
the [property] that was [set on fire]”). But as the First Circuit has observed, “it does not appear
that the legislative history of [§844(f)] or concerns about the constitutional power of Congress”
were considered by the Tenth Circuit in reaching its decision. Hersom, 588 F.3d at 67 n.3.
4
        Count Two carries a mandatory minimum sentence of five years’ imprisonment.


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dismissed because the vehicle involved in this case -- a badly damaged auxiliary police vehicle --

was not used in an activity affecting interstate commerce.

                At the outset, it bears emphasis that arson “is a paradigmatic common-law state

crime.” Jones v. United States, 529 U.S. 848, 858 (2000). That fact militates against a broad

reading of § 844(i)’s interstate commerce element. As the Ninth Circuit has observed, “[i]n all

cases in which Congress adopts criminal laws in an area traditionally occupied by the states, [a

court] must examine such purported interstate commerce connections with a fair degree of

skepticism, to ensure that the federal government prosecutes only those individuals over whom it

has the proper authority.” U.S. v. Lamont, 330 F.3d 1249, 1256 (9th Cir. 2003); ----------
                                                                                see also United

States v. Montgomery, 815 F. Supp. 7, 11 (D.D.C. 1993)(“[i]n [a] criminal case, it is appropriate

to construe both the Commerce Clause and Section 844(i) with restraint and according to the

principle of lenity”).

                The leading case interpreting § 844(i)’s interstate commerce element is the

Supreme Court’s decision in Jones. There, the Court held that the arson of an owner-occupied

residence not used for commercial purposes did not satisfy §844(i)’s jurisdictional requirement.

The Court observed that, when unqualified, the phrase “affecting interstate commerce” signals

Congress’s intent to invoke its full authority under the Commerce Clause, but in §844(i), the phrase

is qualified by the term “used,” which requires proof of “active employment.” Jones, 529 U.S. at

854-55.    Thus, in determining whether property satisfies §844(i)’s interstate commerce

requirement, “[t]he proper inquiry . . . is into the function of the [property] itself, and then a

determination of whether that function affects interstate commerce.” Id. at 854.

                More specifically, the Court wrote this:

        The Government correctly observes that § 844(i) excludes no particular type of
        building (it covers “any building”); the provision does, however, require that the



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       building be “used” in an activity affecting commerce. That qualification is most
       sensibly read to mean active employment for commercial purposes, and not merely
       a passive, passing, or past connection to commerce. Although “variously defined,”
       the word “use,” in legislation as in conversation, ordinarily signifies “active
       employment.”

Id. at 855. On that basis, the Court rejected the government’s argument that the interstate

commerce element was met because (i) the homeowner used the dwelling as collateral to obtain

and secure a mortgage from an out-of-state lender; (ii) the homeowner used the residence to obtain

a casualty insurance policy from an out-of-state insurer; and (iii) the dwelling received natural gas

from an out-of-state source. Id. None of this satisfied the jurisdictional element. The home’s only

“active employment” was for “the everyday living of” the family that occupied it, which did not

constitute an activity in interstate commerce. Id. at 856.

               Under Jones then, the analysis must focus on the property -- here a badly damaged

auxiliary police vehicle -- that was the target of the arson. What was the vehicle’s function? Was

it used in an activity affecting interstate commerce? The fact that the vehicle (or parts for it) were

manufactured out-of-state is insufficient to satisfy the interstate element. See United States v.

McGuire, 178 F.3d 203, 210 (3d Cir. 1999)(“consumption of gasoline refined from foreign oil”

and “wear and tear on vehicle manufactured in another state or country” were insufficient to confer

federal jurisdiction). As the Ninth Circuit has observed, “[i]n our modern world, no person or

institution but the most hardily self-sufficient is free from possessing some amount of goods that

have, at one point in time, traveled interstate.” Lamont, 330 F.3d at 1256.

               Similarly, the fact that the NYPD (or, more generally, policing) affects interstate

commerce is not sufficient; the question is whether this particular vehicle had that effect. See

United States v. Monholland, 607 F.2d 1311, 1314-16 (10th Cir. 1979)(pickup truck used to drive

state judge intrastate to courthouse was not used in interstate commerce even if judge’s work

affected interstate commerce); Lamont, 330 F.3d at 1253-54 (court must focus on the use of the


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church building that was fire-bombed, not on the use of the church as an institution). Simply

stated, Congress “chose to require that the damaged or destroyed property must itself have been

used in commerce or in an activity affecting commerce.” United States v. Mennuti, 639 F.2d 107,

110 (2d Cir. 1981).5

               We have found only one case involving the arson of a police vehicle, Belflower v.

United States, 129 F.3d 1459 (11th Cir. 1997). There, the police vehicle was owned by the local

Sheriff’s Department and operated by Deputy Sheriff Thrower. In upholding the defendant’s

conviction, the court wrote this:

       Thrower has patrolled traffic on Interstate 16 and other roads within Bleckley
       County. Of the people to whom he issues traffic citations, Thrower estimated that
       twenty to thirty percent are from out of state. Thrower has also participated in
       interstate narcotics investigations and has made several drug arrests on the
       interstate. When Thrower stops a person or vehicle on the street, he usually runs
       the identity of the person or vehicle through computers to determine if such
       individual or vehicle is wanted by state or federal authorities. In the course of his
       duties, Thrower has arrested individuals who lived outside Georgia, has recovered
       stolen property outside of the state, testified as a witness in out of state cases, and
       has attended law enforcement training sessions outside Georgia.

Id. at 1462. These facts demonstrated that Thrower’s vehicle was used in activities affecting

interstate commerce.

               What was true of Thrower’s patrol car is almost certainly not true of the auxiliary

police vehicle here. See United States v. Gaydos, 108 F.3d 505, 508 (3rd Cir. 1997)(emphasizing

the need for a case-by-case inquiry to “ensur[e] . . . that the property in question must be used” in

interstate commerce). In New York City, “[a]lthough auxiliary officers perform foot patrol, traffic

and crowd control, cover special events and conduct other nonhazardous jobs that a regular police


5
        If a vehicle were found to be used in an activity affecting interstate commerce simply
because it belonged to a police department, then any arson directed at any police property would
be a federal crime. Setting fire to a police barrier, a police surveillance camera affixed to a street
corner pole, or even a police officer’s hat would violate §844(i).


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officer would perform in uniform, their primary function is to observe and report ongoing criminal

activity.” Miqui v. City of New York, 2003 WL 22937690, at *3 (E.D.N.Y.). They are essentially

a civilian patrol. Id. They are unarmed volunteers (many of them “buffs”), who do not possess

any arrest powers beyond those of private citizens. An auxiliary police vehicle rarely leaves the

precinct to which it is assigned and is not driven interstate. Its use is strictly limited. Accordingly,

it would stretch § 844(i)’s interstate commerce element beyond its moorings if an arson of an

auxiliary police vehicle constituted a federal crime.

               Moreover, as noted above, Jones looks to whether the targeted property is currently

used in an activity affecting interstate commerce; a “past connection” to commerce is not enough.

529 U.S. at 855. Thus, a building that was vacant and uninhabitable at the time it was set on fire

was not in interstate use, even if it had previously been a rental property. Gaydos, 108 F.3d at 511;

see ---
--  also --------------
         United States v. Ryan, 227 F.3d 1058, 1063-64 (8th Cir. 2000)(closed fitness center was

not currently used in interstate commerce); but see United States v. Iodice, 525 F.3d 179, 184 (2d

Cir. 2008)(§844(i) applies to temporarily vacant building where there is “definite plan[] to return

[it] to the stream of commerce”). Here, the auxiliary vehicle was already badly damaged before

the Molotov cocktail was tossed into it. That fact lends further support to the conclusion that the

vehicle was not used in an activity affecting interstate commerce at the relevant time, and therefore

that § 844(i) does not apply.

               In sum, Count Two seeks to convert a “paradigmatic common-law state crime” into

a federal crime by claiming that the auxiliary police vehicle targeted here was used in an activity

affecting interstate commerce. Driving around a local precinct to observe conditions does not

satisfy that jurisdictional requirement. That is especially so when the vehicle cannot be driven. If

Count Two is construed “with restraint and according to the principle of lenity,” Montgomery, 815




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F. Supp. at 11, it does not plead a federal crime and should be dismissed. See Mennuti, 607 F.2d

at 112 (Congress did not “intend[] that everybody and everything should be included”).

                                          POINT THREE

     COUNT THREE MUST BE DISMISSED BECAUSE THE TERM “ANY FELONY”
              IN SECTION 844(h)(1) DOES NOT INCLUDE ARSON

               Count Three charges Ms. Rahman, under 18 U.S.C. §844(h)(1), with using an

explosive to commit one or more felonies “to wit: the crimes charged in Counts One and Two,

which felonies may be prosecuted in a court of the United States.”6 As discussed below, however,

§844(h)(1) does not apply if the alleged predicate felony is arson.

               Judge Posner’s decision in United States v. Konopka, 409 F.3d 837 (7th Cir. 2005),

is directly on point. There, the defendant was charged, under §844(i), with setting fire to a building

in which sauerkraut was manufactured and, under §844(h)(1), with using fire to commit a federal

felony. The predicate federal felony for the §844(h)(1) count was the arson of the sauerkraut

factory. As Judge Posner saw it, the question was this: “why would Congress want the use of fire

to enhance the punishment for using fire?” Id. at 839 (“[e]ven the assistant U.S. attorney who

argued the appeal could not think of any reason for such a strange result”). The answer to that

question was that Congress could not possibly have had such an intent:

       Section 844(h) reflects the view of Congress that fire (or the use of explosives,
       which is also covered by the section), is especially dangerous because it can so
       easily get out of hand and cause widespread destruction and that therefore felonies
       effected by means of fire should be punished more severely than felonies effected
       by other means. But the heavy federal penalty for arson, see 18 U.S.C. §844(i)
       (5 to 20 years even if no one is injured), is based on precisely the same idea -- that
       fire is abnormally dangerous. The policy of section 844(h) is . . . embodied . . . in
       the arson statute, so that the government’s position amounts to arguing that in

6
       Section 844(h)(1) reads as follows: “Whoever uses fire or an explosive to commit any
felony which may be prosecuted in a court of the United States” is guilty of an enhanced offense.
The provision authorizes an enhanced punishment of 10 years “in addition to the punishment
provided for [the underlying felony].”


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       enacting that section Congress intended to increase the sentence for arson by 10
       years.

Id.

               For that reason, Judge Posner concluded that the term “‘any felony’ in section

844(h) means any felony other than arson and conspiracy to commit arson.” Id. Other cases reach

the same result. See United States v. Patel, 370 F.3d 108, 115 n.5 (1st Cir. 2004)(Congress meant

to punish using fire to commit a felony and the predicate felony cumulatively, except that “[a]rson

cannot be charged as the predicate felony because arson and ‘using fire to commit arson’ is a

redundancy for which Congress did not intend to authorize cumulative punishments”); United

States v. Corona, 108 F.3d 565, 572 (5th Cir. 1997)(“[i]f the predicate offense in the use-of-fire

count had been the arson charged in count two [a §844(i) offense], those two counts would differ

only in name -- both would punish the defendants for burning buildings with an effect on interstate

commerce,” which would be impermissible).

               The same point can be made somewhat differently. If the predicate felony for an

§844(h)(1) offense could be federal arson -- an §844(i) offense or an §844(f) offense -- then every

§844(i) or §844(f) offense could also be an §844(h)(1) offense, and the effective punishment for

federal arson would be a mandatory minimum sentence of 15 years (5 plus 10). In enacting

§844(h), Congress sought to enhance the punishment for those who use fire or an explosive to

commit other federal felonies. It did not intend to increase the punishment for arson. See United

States v. Sicurella, 834 F. Supp. 621, 624 (W.D.N.Y. 1993)(“subsection (h) is designed to add an

additional punishment when explosives or fire are used to commit federal felonies other than the

crimes of destruction of property by explosives or fire”)(emphasis in original).

               In sum, because the crimes charged in Counts One and Two (§844(f) and (i)) cannot

be predicates for the crime charged in Count Three (§844(h)(1)), Count Three must be dismissed.



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                                            POINT FOUR

                         COUNT FOUR SHOULD BE DISMISSED FOR
                         MUCH THE SAME REASON AS COUNT TWO

                Count Four charges Ms. Rahman, under 18 U.S.C. §844(n), with conspiring with

Colinford Mattis to “maliciously damage . . . by means of fire and an explosive,” the same

auxiliary police vehicle as in Count Two.7 Here, too, the count alleges as its jurisdictional element

that the vehicle was “used in interstate commerce . . . and in an activity affecting interstate

. . . commerce.” If we are correct that Count Two must be dismissed because the jurisdictional

element is wanting, then Count Four should go with it. The auxiliary police vehicle involved here

performed neighborhood patrols and was not used in an activity affecting interstate commerce.

Charging what occurred as a conspiracy (§844 (n)) as opposed to a substantive offense (§844(i))

should not alter the analysis or result.

                                             POINT FIVE

                        COUNT FIVE MUST BE DISMISSED BECAUSE
                         §844(f)(1) IS NOT A “CRIME OF VIOLENCE”

                Count Five charges Ms. Rahman, under 18 U.S.C. §924(c)(1)(B)(ii), with using a

destructive device “during and in relation to a crime of violence, to wit the crime charged in Count

One” of the Indictment.8 Count One, the alleged predicate “crime of violence,” charges her, under

18 U.S.C. §844(f)(1), with “maliciously damag[ing] . . . by means of fire and an explosive, a

vehicle . . . in whole and in part owned . . . by . . . an . . . organization receiving Federal financial

assistance, to wit: the New York City Police Department.” In Point One, supra, we argued that

Count One is defective because the auxiliary police vehicle at issue was not purchased or possessed



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        Count Four carries a mandatory minimum sentence of five years’ imprisonment.
8
        Count Five carries a mandatory minimum sentence of 30 years’ imprisonment.


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using federal funds. If that argument is sound, then Count Five must be dismissed. A defective

predicate is no predicate at all. But even if we are mistaken in Point One, Count Five must be

dismissed for an entirely separate reason.

               The question here is whether §844(f)(1) is a “crime of violence” as that phrase is

defined in §924(c)(3), and therefore can serve as a predicate for a §924(c) offense. Section

924(c)(3) reads as follows:

       (3) For purposes of this subsection the term “crime of violence” means an offense
       that is a felony and --

              (A) has as an element the use, attempted use, or threatened use of physical
       force against the person or property of another, or

              (B) that by its nature, involves a substantial risk that physical force against
       the person or property of another may be used in the course of committing the
       offense.

The second clause (§924(c)(3)(B)) -- the “residual clause” -- has been struck down as

unconstitutionally vague. See United States v. Davis, 139 S.Ct. 2319 (2019). That leaves only the

first clause (§924(c)(3)(A)) -- the “elements clause” -- for consideration. Only if section 844(f)(1)

satisfies the elements clause can it constitute a “crime of violence.”

               As the Supreme Court has instructed, in determining whether an offense satisfies

the elements clause, a court must use a “categorical approach” under which “the facts of a given

case are irrelevant.” Borden v. United States, 141 S.Ct. 1817, 1822 (2021). That approach requires

a court “to consider whether the elements of the offense can be satisfied by conduct that would fall

outside the definition of a crime of violence provided by §924(c)(3)(A).” United States v. Nikolla,

950 F.3d 51, 53 (2d Cir. 2020). If the alleged predicate offense criminalizes conduct not within

the “crime of violence” definition, then it cannot qualify as a “crime of violence.” See also Borden,

141 S.Ct. at 1832 (under the categorical approach, “[a]n offense does not qualify as a ‘violent




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felony’ unless the least serious conduct it covers falls within the elements clause”)(emphasis in

original).

               Last term in Borden, the Supreme Court held that a “crime of violence” includes

“purposeful and knowing acts but excludes reckless conduct.” Id. at 1826; see also id. at 1825

(“[t]he phrase ‘against another’ when modifying the ‘use of force’ [in the ‘crime of violence’

definition] demands that the perpetrator direct his action at, or target, another individual” or

property); United States v. Roof, 2021 WL 3746805, at *58 (4th Cir.)(the statute “must also

indicate a higher degree of [mens rea] than reckless, negligent, or merely accidental conduct in

order to satisfy the elements clause”).9 That reduces the question here to this: does §844(f)(1)

reach reckless conduct such that it is not a “crime of violence” and therefore cannot serve as a

predicate for a §924(c) offense?

               The answer to that question is straightforward. Section 844(f)(1) criminalizes

“maliciously” damaging specified property by means of fire or explosive.            “‘Maliciously’

. . . includes a mens rea of ‘recklessness.’” Rudolph v. United States, 2021 WL 3212804, at *11

(N.D. Ala.); accord United States v. Tsarnaev, 968 F.3d 24, 101 (1st Cir. 2020)(“‘maliciously’

. . . includes both intentional and reckless acts”); United States v. Johnson, 227 F. Supp. 3d 1078,

1088 (N.D. Cal. 2016)(“the government does not dispute that the mens rea for arson under §844(f)

can be reckless, and not just intentional, conduct”). Thus, “the least serious conduct” covered by




9
       Borden was a plurality opinion to which Justice Thomas, concurring in the judgment,
provided the fifth vote. Notably, Justice Thomas agreed with the plurality that “[t]he elements
clause does not encompass petitioner’s conviction because the statute under which he was
convicted could be violated through mere recklessness.” 141 S.Ct. at 1835.


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§844(f)(1) -- i.e., reckless arson -- falls outside the elements clause of §924(c)(3)(A), since that

clause requires knowing or intentional conduct.10

               In sum, §844(f)(1) criminalizes reckless as well as knowing or intentional conduct.

And a statute that reaches reckless conduct cannot qualify as a “crime of violence” under

§924(c)(3)(A) and serve as a predicate for a §924(c)(1)(B)(ii) offense.11 Because Ms. Rahman did

not use a destructive device “during and in relation to a crime of violence,” Count Five must be

dismissed.

                                         CONCLUSION

               For these reasons, Counts One through Five of the Indictment should be dismissed.

Dated: New York, New York
       September 17, 2021

                                                      Respectfully submitted,

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10
        In Borden, the Court considered the elements clause of the Armed Career Criminal Act
(“ACCA”), §924(e)(2)(B)(i), under which an offense qualifies as a violent felony if it “has as an
element the use, attempted use, or threatened use of physical force against the person of another.”
A similar definition appears in 18 U.S.C. §16(a), but there the words “or property of another” are
added after “person,” bringing property crimes within the provision’s ambit. Section 924(c)(3)(A)
tracks the elements clause of §16(a). The three provisions are “materially identical”; each “sets
out a mens rea requirement -- of purposeful or knowing conduct.” Borden, 141 S.Ct. at 1827-28.
11
       Applying the same analysis as we have used here, two courts have held, post-Borden, that
§844(i) cannot properly act as a predicate “crime of violence” under §924(c). United States v.
Sweatt, 2021 WL 3022695, at *4 (D. Md.)(“a §924(c) conviction based on an §844(i) offense
cannot stand”); Rudolph at 2021 WL 3212804 *11 (“[b]ecause Rudolph’s conviction for the
predicate §844(i) arson offense . . . required proof that he acted ‘maliciously’ . . . it cannot be
considered a ‘crime of violence’ under the elements clause of 18 U.S.C. §924(c)(3)(A)”).


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